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              UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

___________________________________
                                      :
                                      :
                                      :             Civil Action No.
                                      :
                                      :
AVENTUS HEALTH, LLC;                  :
ABL MEDICAL CARE, LLC; RD             :
HEALTH DIAGNOSTICS, LLC;              :
KD MEDICAL CHOICE, LLC; and           :
SEAN M. BYGRAVE, individually         :
and on behalf of all others similarly :
situated,                             :
                                      :
                                      :
             Plaintiffs,              :       CLASS ACTION COMPLAINT
                                      :       AND JURY DEMAND
                                      :
                           v.         :
                                      :
UNITED HEALTHCARE, INC.,              :
UNITED HEALTHCARE                     :
SERVICES INC., OPTUMHEALTH            :
CARE SOLUTIONS, INC. and              :
NEIGHBORHOOD HEALTH                   :
PARTNERSHIP, INC.                     :
                                      :
                    Defendants.       :
____________________________________



     Plaintiffs Aventus Health, LLC (“Aventus”), ABL Medical Care, LLC

(“ABL”), KD Medical Choice, LLC (“KD”), and RD Health Diagnostics, LLC
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(“RD”), (ABL, KD and RD collectively, the “Laboratories”), and Plaintiff Sean M.

Bygrave (the “Individual Plaintiff” or the “Class Representative”) (Aventus, the

Laboratories and the Class Representative, together the “Plaintiffs”) by and through

their attorneys, by way of Complaint against Defendants United Healthcare, Inc.

(“UHC”), United HealthCare Services, Inc. (“UHCS”), OptumHealth Care Solutions,

Inc. (“Optum”) and Neighborhood Health Partnership, Inc. (“NHP”) (UHC, UHCS,

Optum and NHP collectively, “Defendants” or “United”), allege and say:

                                        THE PARTIES

1.        ABL is a limited liability company organized and existing under the laws of the

          Florida, with its principal place of business at 1341 Sundial Point, Winter

          Springs, FL 32708.

2.        KD is a limited liability company organized and existing under the laws of

          Florida with its principal place of business at 1060 Willa Springs Dr., Winter

          Springs, FL 32708.

3.        RD is a limited liability company organized and existing under the laws of

          Florida with its principal place of business at 1977 Alafaya Trail #1121, Oviedo,

          FL 32765.

4.        ABL, KD and RD are owned by Aventus, an integrated healthcare services

          company, including laboratories and pharmacies, and partner with healthcare

          providers to meet the needs of their patients.



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5.        Aventus’s corporate headquarters are located at 11301 Corporate Blvd Building,

          400 STE 315, Orlando, FL 32817.

6.        The Laboratories are CLIA-certified laboratories that requested emergency use

          authorization and that have been authorized and approved to render and be

          reimbursed for COVID-19 testing services.

7.        The Individual Plaintiff resides in Oviedo, Florida, and was an insured under a

          group or individual health insurance plan issued and/or administered by one of

          the Defendants in Florida who received a COVID-19 diagnostic test.

8.        The Individual Plaintiff is also the class representative for a class consisting of

          all insureds under a group or individual health insurance plan issued and/or

          administered by one of the Defendants in Florida who received a COVID-19

          diagnostic test from one of the Plaintiffs.

9.        UHC is a publicly traded Delaware corporation with its principal place of

          business in Minneapolis, Minnesota. It issues group and individual health

          insurance plans and administers private employment-based group health plans

          (“ERISA Plans”) through its various wholly owned and controlled subsidiaries,

          including, but not limited to, UHCS.

10.       UHCS is a corporation organized under the laws of the State of Minnesota, with

          its principal place of business in Minnetonka, Minnesota. It is a for-profit

          corporation operating in the State of Florida, and issues group and individual



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          health insurance plans and administers ERISA Plans that are funded by plan

          sponsors in Florida. It is a wholly owned subsidiary of UHC.

11.       Optum is a corporation organized under the laws of Minnesota with a principal

          place of business there. Upon information and belief, Optum is a foreign for-

          profit corporation operating in Florida, administers health insurance plans

          funded by plan sponsors in Florida and is a wholly owned subsidiary of UHC.

12.       NHP is a corporation organized under the laws of Florida, with its principal

          place of business in Miami, Florida. It is a for-profit corporation operating in the

          State of Florida, and issues group and individual health insurance plans and

          administers ERISA Plans that are funded by plan sponsors in Florida. It is a

          wholly owned subsidiary of UHC.


                               JURISDICTION AND VENUE

13.       This Court has jurisdiction over this dispute under 28 U.S.C. § 1331 because

          Plaintiffs assert federal claims against Defendants under the Families First

          Coronavirus Response Act (“FFCRA”), the Coronavirus Aid, Relief, and

          Economic Security (“CARES”) Act, the Employee Retirement Income Security

          Act (“ERISA”) and the Class Action Fairness Act (“CAFA”).

14.       This Court also has supplemental jurisdiction over Plaintiffs’ state law claims

          pursuant to 28 U.S.C. Sec. 1367(a) because they are so related to Plaintiffs’




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          federal claims that they form a part of the same case or controversy under

          Article III of the United States Constitution.

15.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1), because

          Defendants reside in this judicial district, and under 28 U.S.C. § 1391(b)(2) and

          1391(d), because a substantial part of the events or omissions giving rise to

          Plaintiffs’ claims occurred in this judicial district.

                                        BACKGROUND

16.       Despite reported profits of $15.4 billion in 2020, Defendants are purposely

          failing to meet their obligations to cover COVID testing. Indeed, while

          businesses across the country continue to grapple with economic loss in the face

          of a global pandemic, United reported an almost 12% increase in profits to $17.3

          billion in 2021.

17.       A New York Times article specifically called out United for its shockingly low

          reimbursement rates and failure to fully cover COVID tests, noting that the

          American Academy of Pediatrics and the California Medical Association have

          been unable to receive satisfactory responses from United concerning these

          issues. See Sarah Kliff, NEW YORK TIMES, “Burned by Low Reimbursements,

          Some Doctors Stop Testing for Covid” (Feb. 3, 2021).




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18.       Congress took special and extraordinary steps during the pandemic to require

          health plans and health insurance issuers like United to cover and pay the cost of

          coronavirus testing as a mechanism to fight the pandemic.

19.       As part of these efforts, Congress prohibited health plans and health insurance

          issuers from imposing any prior authorization or other medical management

          requirements on testing for the diagnosis of COVID-19, whether obtained in or

          out-of-network (“OON”) (See FFCRA § 6001(a)). Defendants’ intentional and

          willful conduct are the antithesis of what Congress intended for health plans to

          do to combat COVID.

20.       At issue in this dispute is Defendants’ failure to pay over 34,000 “clean” OOC

          claims for COVID-19 diagnostic testing, including Rapid, PCR, COVID-19

          Variant and Antibody tests, that Plaintiffs provided and continue to provide to

          Defendants’ members and beneficiaries.

21.       In addition to failing to reimburse Aventus and the Laboratories for providing

          covered COVID testing services, Defendants have acted, and continue to act, in

          bad faith by erecting hurdles to payment without justification.

22.       These actions have included setting up complex processes and procedures to

          deny or underpay claims for arbitrary reasons, engaging in a paperwork war of

          attrition in an effort to wear down Aventus and the Laboratories, turning

          United’s internal administrative appeals procedures into a joke and thereby



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          rendering the administrative appeals process functionally meritless, and

          ultimately engaging in unscrupulous and fraudulent conduct for its own financial

          benefit during the COVID-19 pandemic.

                        RELATIONSHIP BETWEEN THE PARTIES

23.       ABL is a Florida-based independent medical laboratory that offers an array of

          diagnostic services, is accredited by the Commission on Office Laboratory

          Accreditation (“COLA”), the College of American Pathologies (“CAP”) and is

          certified under the federal Clinical Laboratory Improvement Amendments

          (“CLIA”) with license number 10D2198288.

24.       RD is a Florida-based independent medical laboratory that offers an array of

          diagnostic services, and is accredited and certified by COLA, CAP, and CLIA,

          with license number 10D2137170.

25.       KD is a Florida-based independent medical laboratory that offers an array of

          diagnostic services, and is accredited and certified by COLA, CAP, and CLIA,

          with license number 10D2137145.

26.       Defendants are in the business of issuing group and individual health insurance

          coverage and administering private employment-based group health plans and

          non-federal governmental plans, such as plans sponsored by states and local

          governments, for their insureds, plan members, and beneficiaries within the State

          of Florida.



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27.       Defendants are required to make benefit payments from their own assets (for

          fully insured plans) or the assets of the relevant plan (for self-funded plans)

          when an individual covered by one of the plans obtains healthcare services

          covered by the plan.

28.       Aventus and the Laboratories are non-participating, or OON, providers of

          services in that they do not have a contract with Defendants requiring them to

          accept Defendants’ prohibitively low reimbursement rates for the services

          provided to Defendants’ insureds, members or beneficiaries.

29.       Non-participating, or OON, status was maintained by Aventus and the

          Laboratories to avoid Defendants’ prohibitively low rates and to ensure that

          Aventus and the Laboratories maintained sufficient cash flow to keep providing

          COVID-19 testing services for their communities.

30.       As OON providers, Aventus and/or the Laboratories obtain an assignment of

          benefits (an “Assignment” or “AOB”) from Defendants’ insureds, members and

          beneficiaries.

31.       The Assignments grant Aventus and/or the Laboratories the right to receive

          direct payments owed to Defendants’ insureds, members and beneficiaries and,

          therefore, the right to pursue legal action to collect same. A representative AOB

          Form that Aventus and/or the Laboratories receives from Defendants’ plan




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          participants is attached hereto and incorporated herein by reference as Exhibit

          “A.”

32.       Aventus and/or the Laboratories submitted, and continue to submit, claims for

          reimbursement for the testing services administered to Defendants’ insureds,

          members and their beneficiaries, which include COVID-19 diagnostic and

          related testing.

33.       Consistent with the ruling by the United States District Court for the Southern

          District of Texas in Diagnostic Affiliates of Northeast Hou, LLC, v. United

          Healthcare Services Inc., Civil Action No. 2:21-CV-00131, dated January 18,

          2022, Plaintiffs have an “implied private right of action to enforce the provisions

          of the FFCRA and CARES Act reimbursement requirement.”

34.       Moreover, Plaintiffs have a private right of action to seek reimbursement

          pursuant to ERISA.



  THE ROLE OF AVENTUS AND THE LABORATORIES IN FIGHTING THE

                                  COVID-19 PANDEMIC

35.       From the start of the COVID-19 pandemic, Aventus and the Laboratories have

          offered COVID-19 testing for the diagnosis and detection of the virus that

          causes COVID-19. Aventus and the Laboratories also later offered COVID-19

          antibody testing.



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36.       Aventus and the Laboratories began offering and focusing their resources on

          COVID-19 testing services as part of their commitment to combatting the

          COVID-19 pandemic in Florida and nationally.

37.       Throughout the pandemic, Aventus and the Laboratories have offered COVID-

          19 testing services 24 hours per day and seven days a week to help clinicians

          quickly and accurately diagnose COVID-19, detect the presence of COVID-19

          antibodies and provide patients with timely infection information.

38.       Aventus joined forces with the University of Central Florida, a government

          institution (“UCF”), and others to offer COVID-19 testing.

39.       Testing by Aventus and the Laboratories was made available and continues to be

          available to private individuals, as well as public organizations and institutions

          including, but limited to, Nemours Children’s Hospital, the National Basketball

          Association (“NBA”), the Women’s National Basketball Association

          (“WNBA”), World Wrestling Entertainment (“WWE”), Major League Soccer

          (“MLS”) and the National Football League (“NFL”).

40.       In total, from the start of the pandemic, Aventus and the Laboratories

          cumulatively provided COVID-19-related testing services to over 34,000

          patients who are insureds, members or beneficiaries of Defendants’ health plans

          or private plans they administer.




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41.       Defendants have willfully failed and refused to pay for COVID-19 testing

          despite Defendants not questioning the quality of the services provided by

          Aventus or the Laboratories or the accuracy of the test results and despite their

          undisputed obligation to pay for these tests as more fully set forth below.

42.       Despite Defendants’ bad faith in refusing to pay for these testing services,

          Aventus and the Laboratories have never refused to treat Defendants’ insureds,

          members or beneficiaries. In fact, they were induced to continue performing

          testing services for Defendants’ insureds, members and beneficiaries because

          Defendants initially paid COVID-19 testing charges during the early stages of

          the pandemic before they routinely, and without basis, stopped doing so.

43.       The testing services provided by Aventus and the Laboratories are medically

          necessary and appropriate according to recognized medical standards and

          standards announced by Congress and the Department of Health and Human

          Services (“HHS”).

  FEDERAL LAW REQUIRES DEFENDANTS TO PAY AVENTUS AND THE
     LABORATORIES FOR OUT-OF NETWORK COVID-19 TESTING

44.       Based on provisions of the FFCRA and the CARES Act, as discussed below,

          Aventus and the Laboratories had every expectation that Defendants would

          honor their obligations and reimburse them for the COVID-19-related testing

          services provided to Defendants’ insureds, members and beneficiaries.




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45.       Aventus and the Laboratories have been, and continue to be, harmed by

          Defendants’ failure to pay valid claims that they submitted to Defendants for

          reimbursement for services to Defendants’ insureds, members and beneficiaries.

46.       Congress, as well as the Trump and Biden Administrations, have made clear that

          group and individual health plans and health insurance issuers, like Defendants,

          must cover and reimburse COVID-19 testing and related services. Such rules

          have been laid out not just in the text of the FFCRA and CARES Act, but also in

          a series of “Frequently Asked Questions” issued and publicly posted by HHS.

47.       Defendants’ failure to reimburse and/or properly reimburse Aventus and/or the

          Laboratories for COVID-19 testing services violates these reimbursement rules,

          as explained in detail below.

48.       Under Section 6001 of the FFCRA, as amended by Section 3201 of the CARES

          Act, Defendants must provide benefits for certain COVID-19-related items and

          services, including COVID-19 testing, furnished beginning March 18, 2020.

49.       Defendants also “must provide this coverage without imposing any cost-sharing

          requirements (including deductibles, copayments, and coinsurance), prior

          authorization, or other medical management requirements.” See FFCRA, §

          6001(a); FAQs About Families First Coronavirus Response Act and Coronavirus

          Aid, Relief, and Economic Security Act Implementation (hereinafter “FAQs”),

          Part 44, pp. 1-2 (February 26, 2021).



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50.       Moreover, the FAQs confirm that plans and issuers are prohibited from

          imposing specific screening criteria on coverage of COVID-19 diagnostic testing

          for an asymptomatic person who has no known or suspected exposure to

          COVID-19. Thus, “[w]hen an individual seeks and receives a COVID-19

          diagnostic test from a licensed or authorized health care provider, or when a

          licensed or authorized health care provider refers an individual for a COVID-19

          diagnostic test, plans and issuers generally must assume that the receipt of the

          test reflects an ‘individualized clinical assessment’ and the test should be

          covered without cost sharing, prior authorization, or other medical management

          requirements.” FAQs, Part 44, pp. 2-3.

51.       The CARES Act amendments to the FFCRA specify that insurers and health

          plans, such as those offered by Defendants, must reimburse any provider of

          COVID-19 diagnostic testing, whether in-network or OON.

52.       Specifically, Section 3202 of the CARES Act provides that if insurers, like

          Defendants, “do not have a negotiated rate with such provider, [Defendants]

          shall reimburse the provider in an amount that equals the cash price for such

          service as listed by the provider on a public internet website[.]” See CARES Act,

          § 3202(a)(2), Pub. L. 116-136; see also 42 U.S.C. § 256b Note.

53.       Defendants also have the opportunity, as recognized by the CARES Act, to

          “negotiate a rate with such provider for less than [the cash price on the



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          website],” id., but Defendants did not make any effort to, and did not, negotiate a

          rate with Aventus or the Laboratories.

54.       To date, Defendants still have not attempted to negotiate any rate with the

          Aventus or the Laboratories.

55.       In compliance with Section 3202(b)(1) of the CARES Act, Aventus and/or the

          Laboratories posted on their public website the cash price of its COVID-19

          diagnostic test since March 2020. The cash price listed by Aventus and/or the

          Laboratories has always been $500 per PCR test.

56.       Because Defendants have not negotiated a rate with Aventus or the Laboratories

          (or even attempted to do so), Defendants are obligated to reimburse Aventus and

          the Laboratories for COVID-19 testing services at a rate of $500 per test, unless

          reimbursement for the type of claim at issue is adjusted by contract or by statute,

          which is the case for certain governmental health plan participants.

57.       Federal guidance under the FFCRA and CARES Act is also clear that

          Defendants’ obligation extends to a wide array of coverage and testing types.

58.        The FFCRA/CARES Act payment rules apply to “group health plans and health

          insurance issuers offering group or individual health insurance coverage

          (including grandfathered health plans).” This definition specifically includes

          “both insured and self-insured group health plans,” including “private




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          employment-based group health plans (ERISA plans), non-federal governmental

          plans...and church plans.” See FAQs, Part 42, Q1 (April 11, 2020).

59.       Defendants’ reimbursement obligations also apply to all manner of in vitro

          COVID-19 diagnostic testing, including serological (otherwise known as

          “antibody”) testing, and tests administered at home through self-collection. See

          FAQs, Part 42, Q1 (April 11, 2020); FAQs, Part 43, Q4 (June 23, 2020).

60.       Based on the above provisions, there can be no debate that federal law requires

          Defendants to pay for COVID-19 testing services provided by Aventus and the

          Laboratories and to do so “without imposing any cost-sharing requirements

          (including deductibles, co-payments and coinsurance), prior authorization or

          other medical management requirements.” FFCRA Sec. 6001(a).

61.       Regulators have even warned that plans and issuers shall not attempt to “limit or

          eliminate other benefits . . . to offset the costs of increasing the generosity of

          benefits related to the diagnosis and/or treatment of COVID-19.” See FAQs,

          Part 42, Q9 (April 11, 2020).

62.       Defendants’ failure and refusal to pay in excess of 34,000 claims is a clear

          violation of those obligations.

63.       Defendants’ actions are particularly reprehensible given the increased

          operational costs and burdens that Aventus and the Laboratories have

          undertaken to join the State of Florida in the fight against COVID-19.



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64.       Aventus and/or the Laboratories remained open and tested thousands of patients

          during the heart of the pandemic, absorbing increased costs to protect patients

          and employees, as well as obtaining and providing test results in a timely

          manner (usually within 48 to 96 hours). To absorb this financial burden without

          reimbursement is the antithesis of what Congress mandated that health plans

          must do in the FFCRA and CARES Act.

                           DEFENDANTS HAVE WITHHELD PAYMENTS
                       FOR COVID-19 TESTING SERVICES IN BAD FAITH

65.       In connection with the COVID-19 diagnostic testing provided to Defendants’

          insureds, members and beneficiaries, Aventus and the Laboratories timely

          submitted claims for payment and billed the cash price for the relevant service

          publicly posted on each their respective websites, as permitted by the CARES

          Act.

66.       Defendants’ behavior with respect to payment to Aventus and the Laboratories

          for COVID and related testing services has changed dramatically considering

          that, at the outset of the pandemic in March, April and May 2020, Defendants

          paid the majority of the claims for testing that Aventus and the Laboratories

          submitted and Aventus and the Laboratories had no reason to expect that

          Defendants would begin to deny payments for testing that they provided to

          Defendants’ insureds, members and beneficiaries beginning around June 2020,

          but that is precisely what happened.


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67.       For testing provided from June 2020 onward, Defendants have been

          systematically denying payments for those claims even though Aventus and the

          Laboratories’ testing, billing, documentation and other practices have been the

          same throughout the COVID-19 pandemic.

68.       Instead of issuing payments, and in an apparent effort to avoid paying what the

          law requires and/or to delay payment for as long as possible, Defendants have

          elected to send an unreasonable number of requests for clinical records and other

          supporting documentation for the services that Aventus and the Laboratories

          provided Defendants’ insureds, members and beneficiaries and despite the law

          barring any “medical management requirements.”

69.       Defendants have been demanding that Aventus and the Laboratories produce

          voluminous patient treatment and other records while giving them short response

          times.

70.       Considering the high demand for COVID-19 testing during the pandemic,

          Defendants were aware, or should have been aware, that Aventus and the

          Laboratories could not feasibly comply with all of Defendants’ requests.

71.       For example, Defendants have denied payment for a series of claims and are

          refusing to pay unless Aventus and the Laboratories produce clinical and

          operational documentation within thirty (30) days of Defendants’ request. This

          documentation includes physician orders, standing orders, laboratory



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          requisitions, pathology reports, unspecified “correspondence”, patient intake

          forms, patient initial/visit consultation forms, copies of CLIA certificates, which

          are publicly available at https://www.cdc.gov/clia/LabSearch.html, identification

          and credentials for every onsite technical lab staff member, specimen and

          transport logs, average daily test volumes, average daily send-out test volumes,

          inspection and proficiency test reports, information for how each testing

          specimen is received, and COVID-19 testing kits used and photographs of all

          contents of the kits.

72.       For both COVID-related and non-COVID-related testing, Aventus and the

          Laboratories do not have ready access to most of the clinical documents

          requested by Defendants because they are laboratories and not the treating

          provider and the law does not require a laboratory to maintain these documents.

73.       Although Defendants issue their medical records requests to Aventus and the

          Laboratories, Aventus and the Laboratories cannot respond to various items in

          the requests unless they submit requests for these detailed clinical records to the

          treating providers ordering the tests.

74.       Aventus and the Laboratories have no control over whether other providers will

          comply with their documentation requests (much less in the 30-day window

          demanded by Defendants).




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75.       Moreover, these treating providers are often themselves within Defendants’

          “network” of participating providers. Accordingly, Defendants – not Aventus or

          the Laboratories - have far greater access to and control over the documents they

          seek because the source of the documents is with Defendants’ own participating

          providers.

76.       In Aventus’ and the Laboratories’ good faith efforts to comply with Defendants’

          verification efforts and requests, Aventus and the Laboratories permitted onsite

          inspections of their respective facilities by Defendants’ representatives, and

          further provided Defendants with documentation evidencing their qualifications

          as properly licensed laboratories.

77.       Defendants actually inspected the Laboratories’ facilities through their third

          party Special Investigative Unit (“SIU”) and obtained records from those

          facilities, which was followed up with an email confirming such visits and

          record production to United’s satisfaction. A copy of said email is attached

          hereto and incorporated herein by reference as Exhibit “B.”

78.       Regardless of access to records, and as noted above, Defendants’ requests

          contravene the instructions in the FFCRA, CARES Act, and follow-on FAQs,

          which make clear that Defendants must reimburse out-of-network laboratories

          without imposing “medical management requirements.”




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79.       It is therefore, disingenuous, for Defendants to claim that they must review

          detailed clinical records to determine a patient’s symptoms before covering the

          COVID-19 tests.

80.       Federal guidance provides that, under the FFCRA and CARES Act, plans and

          issuers cannot “use medical screening criteria to deny (or impose cost sharing

          on) a claim for COVID-19 diagnostic testing” for asymptomatic patients, and

          they “cannot require the presence of symptoms or a recent known or suspected

          exposure, or otherwise impose medical screening criteria on coverage of tests.”

          FAQs, Part 44 Q1 (Feb. 26, 2021).

81.       In enacting the FFCRA, Congress prohibited plans and issuers from “impos[ing]

          any cost sharing . . . requirements or prior authorization or other medical

          management requirements” in connection with COVID testing. FFCRA §

          6601(a).

82.       Defendants’ actions in withholding payments on legitimate claims for services

          Aventus and/or the Laboratories provided and demanding (an unreasonable

          volume of) documentation are clear violations of, inter alia, Defendants’ FFCRA

          and CARES Act reimbursement obligations.

83.       Defendants’ own conduct in paying claims belies their argument that they lack

          the necessary documentation to pay for COVID tests.




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84.       Defendants are paying a much higher percentage of the Laboratories’ COVID

          testing claims when the dollars at issue belong to their self-funded plan

          customers and far fewer claims when it is Defendants themselves that are at risk

          for the payment.

85.       For example, Defendants’ abusive requests and pre-payment review processes

          are far less prevalent when their customers’ self-funded plans are involved

          versus fully insured plans where Defendants’ own dollars are at stake.

86.       Defendants are acting in bad faith because they simply are trying to reduce their

          own spend rather than acting out of legitimate concern that Aventus and/or the

          Laboratories are not properly documenting their reimbursement claims.

          Otherwise, Defendants would not be paying such a large share of the claims of

          their self-funded plan customers where Defendants are acting only as

          administrator.

87.       Furthermore, Defendants’ legal position is untenable, as they have imposed Do-

          Not-Pay (“DNP”) Flags on Plaintiffs, which are clearly arbitrary and capricious

          and serve no legitimate purpose.

88.       The arbitrary and capricious nature of Defendants’ actions vis-à-vis Aventus and

          the Laboratories is further confirmed by Defendants’ payment of the

          Laboratories’ claims for COVID-19 testing and related services provided to




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          Medicaid recipients in Florida, despite its allegations that the Laboratories are

          essentially sham organizations.

89.       In addition to withholding payment and demanding that Aventus and the

          Laboratories produce voluminous patient documentation, Defendants have

          denied COVID claims based on its erroneous determination that a “place of

          service” (POS) code on the claims is incorrect. Regardless of Defendants’

          preference for a different POS code, the presence of one POS code or another is

          immaterial to payment and should not affect whether the claim is reimbursable.

90.       Defendants’ position is especially unreasonable given CARES Act guidance

          requires that Defendants must cover all manner of diagnostic testing, regardless

          of where performed. See FAQs, Part 43, Q4 (June 23, 2020).

91.       Defendants’ refusal to reimburse Plaintiffs for COVID-19 testing services

          violates the CARES Act, the FFCRA, state law and is otherwise wrongful.

92.       Defendants’ abusive records requests and withholding of payments directly

          violate, among other things, a Congressional mandate requiring insurers and

          health plans to reimburse in- and OON COVID testing services during the

          pandemic.

93.       In Florida, Defendants have a duty to acknowledge and promptly adjudicate

          claims, in addition to their duties to engage in good faith and fair dealing with




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          regard to the implied contractual relationship that exists between Aventus and

          the Laboratories, on the one hand, and Defendants.

94.       Defendants have breached these duties and Aventus and the Laboratories have

          suffered damages.

95.       Aventus and the Laboratories have attempted to engage in communications and

          discussions with Defendants to resolve the issues short of litigation, including by

          telephone and email communications with various employees/representatives of

          Defendants, but Plaintiffs have been provided with no other option but to file

          suit.

                              CLASS ACTION ALLEGATIONS

96.       The Individual Plaintiff, an insured, member or beneficiary under one of

          Defendants’ group or individual health insurance plans, received COVID-19

          testing at one of the Laboratories, but Defendants have not paid for said testing.

97.       The Individual Plaintiff meets all requirements of Fed. R. Civ. P. 23(a) and

          23(b).

      A. The Class.

98.       The Individual Plaintiff brings his claims on his own behalf and on behalf of the

          “Class,” defined as insureds, participants or beneficiaries in any group or

          individual health insurance plan issued, underwritten or administered by one or

          more of the Defendants who were denied health insurance coverage for COVID-



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          19 testing at any time during the period from March 2020 to the present and who

          paid, or were or are required to pay, for said testing.

99.       The Class excludes Defendants, including any entity or division in which any

          Defendant has a controlling interest, as well as their agents, representatives,

          officers, directors, employees, trustees, and other entities related to, or affiliated

          with Defendants, and Class Counsel.



      B. Numerosity.

100. The members of the Class are so numerous that joinder of all members is

          impractical.

101. 101. There are approximately 34,000 clean OON claims submitted by Plaintiffs

          that remain unpaid and, accordingly, tens of thousands of Class members. The

          Class is ascertainable because its members can be readily identified using

          Plaintiffs’ and Defendants’ claims data.

102. The Class also is described with a discrete set of procedure codes under the

          Current Procedural Terminology (“CPT”) promulgated by the American

          Medical Association. Accordingly, Class members can be readily and

          objectively ascertained through use of records maintained by the parties.

103. Finally, the Class members are dispersed geographically such that joinder of all

          members is impracticable.



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     C. Commonality/Predominance of Common Issues.

104. This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

          because questions of law and fact that have common answers predominate over

          questions affecting only individual Class members, which includes the

          nonpayment and underpayment of COVID-19 testing, without valid bases.


     D. Typicality.

105. The Class Representative’s claims are typical of the claims of the Class

          members because the Class Representative is an insured, member or beneficiary

          of an insurance policy issued by one of the Defendants or is a participant in an

          ERISA Plan administered by Defendants, submitted a claim for coverage for

          COVID-19 testing, and, like other Class members, Defendants denied the Class

          Representatives’s claims without any justifiable basis.



     E. Adequacy of Representation.

106. The Class Representative will fairly and adequately protect the interests of the

          Class. The Class Representative’s interests do not conflict with the interests of

          the members of the proposed Class.

107.       Further, Plaintiffs have retained counsel who are competent and experienced in

          complex and class action litigation, and Plaintiffs have counsel ready and willing


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          to prosecute this action vigorously on behalf of the Class members and have the

          financial resources to do so. Neither Plaintiffs nor counsel have any interest

          adverse to those of the Class members.


     F. Superiority.

108. This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1) because the

          prosecution of separate actions by individual Class members would create a risk

          of inconsistent or varying adjudications that could establish incompatible

          standards of conduct for Defendants.

109. This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a class

          action is superior to the other available methods for the fair and efficient

          adjudication of this controversy. Questions of law and fact common to the Class

          members predominate over any questions affecting only individual members.

110. A class action is superior to other available methods for the fair and efficient

          adjudication of this controversy because joinder of all Class members is

          impracticable.

111. Further, because the unpaid benefits denied Class members are small relative to

          the expense and burden of individual litigation, it would be next to impossible

          for the members of the Class to redress individually the harm done to them, such

          that most or all Class members would have no rational economic interest in

          individually controlling the prosecution of specific actions, and the burden


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          imposed on the judicial system by individual litigation by even a small fraction

          of the Class would be enormous, making class adjudication the superior

          alternative under Fed. R. Civ. P. 23(b)(3)(A).

112. The conduct of this action as a class action presents far fewer management

          difficulties, far better conserves judicial resources and the parties’ resources, and

          is far better for effectively protecting the rights of each Class member than

          would piecemeal litigation.

113. Compared to the expense, burdens, inconsistencies, economic infeasibility, and

          inefficiencies of individualized litigation, the challenges of managing this action

          as a class action are substantially outweighed by the benefits to the legitimate

          interests of the parties, the court, and the public of class treatment in this court,

          making class adjudication superior to other alternatives, under Fed. R. Civ. P.

          23(b)(3)(D).

              COUNT I – VIOLATION OF THE FFCRA AND CARES ACTS

114. Plaintiffs repeat and re-allege each factual allegation contained above as if fully

          set forth herein.

115. Defendants are health insurance issuers offering group or individual health

          insurance coverage, as those terms are defined under section 6001 of the FFCRA

116. The COVID-19-related testing services that Aventus and/or the Laboratories

          provide to health plan members, insureds and beneficiaries constitute in vitro



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          diagnostic products for the detection of COVID-19 or the diagnosis of the virus

          that causes COVID–19, as provided by section 6001 of the FFCRA.

117. Aventus and the Laboratories did not, and do not, have a negotiated rate with

          Defendants for the provision of these services.

118. In compliance with the CARES Act, Aventus and the Laboratories post a cash

          price for COVID-19 testing on their public website.

119. Under section 3202(a)(2) of the CARES Act, if a health plan, such as

          Defendants, does not have a negotiated rate with a provider, such as Aventus and

          the Laboratories, for providing COVID-19 testing related services, the health

          plan is obligated to pay the provider its posted cash price for providing those

          services.

120. Despite numerous and persistent demands and requests, Defendants have failed

          and refused to pay anything remotely close to the Laboratories’ cash price for

          providing the COVID-19 testing related services.

121. Moreover, Defendants have paid nothing for the vast majority of COVID tests

          that Aventus and/or the Laboratories have provided for Defendants’ insureds,

          members and their beneficiaries.

122. By reason of the foregoing, Plaintiffs have been damaged.

123. Based upon the above, Plaintiffs are entitled to judgment against Defendants in

          an amount to be determined at the trial of this matter, plus interest thereon,



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          together with the costs and disbursements of this action, including reasonable

          attorneys’ fees.

                             COUNT II - ERISA: FAILURE TO PAY

124. Plaintiffs repeat and reallege all of their previous factual allegations as if same

          were fully set forth herein at length.

125. Aventus and/or the Laboratories have had Defendants’ insureds, members and

          beneficiaries execute AOB forms, assigning their right to payment to the

          Laboratories. Plaintiffs, therefore, have standing to assert their claims.

126. Notwithstanding any anti-assignment clause, the payment to Plaintiffs for the

          COVID-19 testing is the responsibility of Defendants.

127. To the extent that Plaintiffs failed to exhaust any internal appeals process,

          Defendants maintained inadequate claims procedures and/or following those

          procedures would have been futile considering, among other things, the repeated

          failure to pay tens of thousands of claims.

128. Plaintiffs’ incurred charges represent its usual and customary reimbursement

          rates for treatment provided to Defendants’ insureds, members or beneficiaries.

129. Defendants breached the terms of their ERISA health plans, and/or plans for

          which Defendants act as administrators, by refusing to make OON payments for

          charges covered by the plans, in violation of ERISA § 502(a)(1)(B), 29 U.S.C. §

          1132(a)(1)(B).



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130. These breaches include, among other things, (a) refusing to reimburse Aventus

          and/or the Laboratories for the medically necessary services they provided

          Defendants’ insureds, members and beneficiaries as required by the FFCRA and

          CARES Act; (b) refusing to reimburse Aventus and/or the Laboratories for the

          medically necessary services that they provided to Defendants’ insureds,

          members and beneficiaries, as required by 29 C.F.R. § 590.715-

          719A(b)(3)(i)(A)-(C); and/or (c) otherwise refusing to reimburse Plaintiffs the

          legally required amounts due under the plans for the medically necessary

          services provided by Aventus and the Laboratories to Defendants’ insureds,

          members and beneficiaries.

131. Moreover, the Class Representative was required to pay, and did pay, one of the

          Laboratories for COVID-19 testing after one of the Defendants failed and

          refused to pay for same.

132. Similarly, there is a class of persons insured by Defendants who paid, or are

          required to pay, for COVID-19 testing to providers as a result of Defendants’

          refusal and failure to pay for said testing.

133.        As a direct and proximate result thereof, Plaintiffs have suffered substantial

          damages.

134. Under 29 U.S.C. § 1132(a)(1)(B), Plaintiffs are entitled to recover

          unpaid/underpaid benefits from Defendants.



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       COUNT III - ERISA: FAILURE TO GIVE FULL AND FAIR REVIEW


135. Plaintiffs repeat and reallege all of the factual allegations set forth above as if

          same were fully set forth herein at length.

136. As assignees and authorized representatives of their patients’ claims, Aventus

          and/or the Laboratories are entitled to receive protection under ERISA including

          (a) a “full and fair review” of all claims denied by Defendants; and (b)

          compliance by Defendants with applicable claims procedure requirements.

          Likewise, the Class Representative and putative members of the class also are

          entitled to a “full and fair review” of their claims.

137. For denied claims pursuant to 29 U.S.C. § 1133, an ERISA plan must (a)

          provide adequate notice in writing to any participant or beneficiary whose claim

          for benefits under the plan has been denied, setting forth the specific reasons for

          such denial, written in a manner calculated to be understood by the participant;

          and (b) afford a reasonable opportunity to any participant whose claim for

          benefits has been denied for a full and fair review by the appropriate named

          fiduciary of the decision denying the claim. 29 U.S.C. § 1133(1) and (2).

138. ERISA regulations make clear that, in the case of post-service claims submitted

          pursuant to group health plans, the required notification that the claim has been

          denied must be issued within a reasonable period of time, but not later than 30

          days after receipt of the claim, unless the member or beneficiary is notified that,


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          due to circumstances beyond the plan’s control, the plan requires an additional

          15 days to issue a required denial notification. 29 C.F.R. § 2560-

          503.1(f)(2)(iii)(B).

139. Defendants have failed to provide Plaintiffs with a “full and fair review” of their

          claims, based on imposition of the DNP Flags.

140. Although Defendants are obligated to provide a “full and fair review” of denied

          and underpaid claims pursuant to 29 U.S.C. § 1133, Defendants’ DNP violated

          this by, among other things: (a) refusing to provide the specific reason or reasons

          for the denial or underpayment of claims; (b) refusing to provide the specific

          plan provisions relied upon to support its denials or underpayments; (c) refusing

          to provide the specific rule, guideline or protocol relied upon in making the

          decisions to deny or underpay claims; (d) refusing to describe any additional

          material or information necessary to perfect a claim, such as the appropriate

          diagnosis/treatment codes; (e) refusing to notify the relevant parties that they are

          entitled to have, free of charge, all documents, records and other information

          relevant to the claims for benefits; (f) refusing to provide a statement describing

          any voluntary appeals procedure available, or a description of all required

          information to be given in connection with that procedure; (g) refusing to

          provide Plaintiffs with the documentation and information relevant to




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          Defendants’ denial of the claims; and (h) refusing to timely issue required

          notifications that the claims have been denied or underpaid.

141. By failing to comply with the ERISA claims procedure regulations, Defendants

          failed to provide a reasonable claims procedure.

142. Because Defendants have failed to comply with the substantive and procedure

          requirements of ERISA, any administrative remedies are deemed exhausted

          pursuant to 29 C.F.R. § 2560.503-1(I) and 29 C.F.R. § 590.715-

          2719(b)(2)(ii)(F)(1).

143. Exhaustion is also excused because it would be futile to pursue any

          administrative remedies, Defendants do not acknowledge any legitimate basis

          for their denials and thus offer no meaningful administrative process for

          challenging their denials.

144. Plaintiffs have been harmed by Defendants’ failure to provide a full and fair

          review of appeals submitted and failure to comply with applicable claims

          procedure regulations under ERISA. 29 U.S.C. § 1133.

145. Plaintiffs are entitled to relief under 29 U.S.C. § 1132(a)(3), to remedy

          Defendants’ failures to provide a full and fair review, to disclose information

          relevant to appeals, and to comply with applicable claim procedure regulations.

                       COUNT IV - PROMISSORY ESTOPPEL (NON-ERISA)




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146. Plaintiffs repeat and reallege all of the factual allegations set forth above as if

          same were fully set forth herein at length.

147. Defendants misrepresented, and continue to misrepresent, on their websites

          and/or elsewhere, their coverage of medically appropriate COVID-19 testing

          with $0 cost-share during the national public health emergency period through

          January 10, 2023 (See https://www.uhc.com/health-and-wellness/health-

          topics/covid-19/coverage-and-resources).

148. By way of example, but not limitation, Defendants claimed to be working to

          improve access to care and decrease “administrative processes.”

149. In United’s Cost Sharing Guidance, it promised to “cover COVID-19 testing for

          all lines of business…”

150. In yet another publication, Defendants indicated that United would cover

          medically appropriate COVID-19 testing in accordance with applicable law,

          including the CARES Act, and instructed providers not to collect upfront

          payment from members.

151. Similarly, in United’s FAQs regarding claims and appeals, it confirms that for

          plans that do not have OON benefits, United will still pay for testing from an

          OON provider.

152. By their conduct, Defendants led Plaintiffs to believe that Defendants would pay

          Aventus and/or the Laboratories for COVID testing for their members and



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          beneficiaries but then refused to issue payments when the bills were submitted

          by Aventus and the Laboratories.

153. Defendants knew, or reasonably should have known, that Aventus and the

          Laboratories would rely on Defendants’ representations on their website and

          elsewhere and compliance with the FFCRA and the CARES Act.

154. Upon information and belief, Defendants purposefully paid Aventus and/or the

          Laboratories for testing services at the beginning of the pandemic with the

          expectation that Aventus and the Laboratories would reasonably rely upon said

          conduct and continue to provide testing services despite not being timely paid by

          Defendants.

155. Aventus and the Laboratories reasonably, but detrimentally, relied on

          Defendants’ conduct by continuing to provide testing services to Defendants’

          insureds, members and beneficiaries.

156. Aventus and the Laboratories’ reliance on Defendants’ misrepresentations and

          promises caused them to suffer a definite and substantial detriment and caused

          them damage.


   COUNT V – DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. §
                      2201 (NON-ERISA)

157. The foregoing factual allegations are re-alleged and incorporated by

          reference as if same were fully set forth herein.



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158. This is a count for declaratory relief pursuant to 28 U.S.C. § 2201.

159. The FFCRA and the CARES Act require, inter alia, health plans and issuers

          to cover all Covid Testing services offered by providers, regardless of

          whether such provider is in network or OON, and without the imposition of

          medical management and other requirements, and to reimburse OON

          providers either the cash price for Covid Testing services publicized on their

          websites or to negotiate an amount less than the cash price to be paid to

          Plaintiffs.

160. The CARES Act also directs health plans and issuers to directly reimburse

          OON providers for their Covid Testing services.

161. Defendants have engaged in unlawful and suspect conduct to circumvent

          their obligations to cover bona fide Covid Testing services submitted by

          Plaintiffs on behalf of insureds, members and beneficiaries of health plans

          either insured or administered by them, and have failed to reimburse

          Aventus and the Laboratories, OON providers, in accordance with the

          aforementioned methodology prescribed by the CARES Act.

162. Defendants have failed to comply with their obligations to cover Covid

          Testing services without the imposition of medical management and other

          requirements, and have failed to reimburse Plaintiffs in accordance with

          reimbursement methodology prescribed by the CARES Act.



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163. As a result of Defendants’ conduct and institutional failures, Plaintiffs have

          sustained and will continue to sustain damages and have been deprived of

          and will continue to be deprived of the compensation that Plaintiffs are

          entitled to for providing bona fide Covid Testing services to members and

          beneficiaries of health plans either insured or administered by Defendants

          during this public health emergency.

164. Plaintiffs are entitled to supplemental relief pursuant to 28 U.S.C. § 2201,

          including the payment of all money that was not paid by Defendants, either

          in their capacity as insurers or administrators to Plaintiffs for providing bona

          fide Covid Testing as described in this Complaint.



             COUNT VI – UNJUST ENRICHMENT AND QUANTUM MERUIT

165. The foregoing factual allegations are re-alleged and incorporated by

          reference as if same were fully set forth herein at length.

166. Plaintiffs provided bona fide Covid Testing services to insureds, members

          and beneficiaries of health plans that Defendants insures and administers.

167. By providing necessary Covid Testing services throughout the course of the

          COVID-19 public health emergency to Defendants’ insureds, members and

          beneficiaries, Plaintiffs conferred benefits upon Defendants because

          Plaintiffs’ provision of Covid Testing services facilitated Defendants’



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          obligation to arrange and pay for Covid Testing services for its insureds,

          members and beneficiaries.

168. Additionally, Defendants benefited from the insurance premiums from

          insureds, members and beneficiaries and the compensation from Employer

          Plans and other self- funded health plans to facilitate and cover Covid

          Testing services.

169. Defendants knew that Plaintiffs provided bona fide Covid Testing services

          to Defendants’ members in satisfaction of Defendants’ obligations to their

          insureds, members and beneficiaries.

170. Moreover, at all relevant times, Defendants either virtually denied or

          underpaid Plaintiffs for their bona fide Covid Testing services in

          contravention of their requirements under the FFCRA and the CARES Act.

171. Defendants voluntarily accepted, retained and enjoyed, or continue to

          accept, retain, and enjoy, the benefits conferred by Aventus and the

          Laboratories, with the knowledge that Aventus and the Laboratories expect

          and are entitled to for such Covid Testing services.

172. Despite proper demand being made on Defendants for payment for these

          services, Defendants failed to reimburse Plaintiffs for the Covid Testing

          services provided.




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173. Defendants have received and retained benefits and have been unjustly

          enriched through the use of funds that earned interest or otherwise added to

          their profits, when said money should have been paid in a timely and

          appropriate manner to Plaintiffs.

174. As a result of Defendants’ unjust enrichment, Plaintiffs have suffered

          damages.

175. As a direct and proximate result thereof, Plaintiffs are entitled to

          compensatory damages, interest, cost of suits, attorneys’ fees and such other

          relief as the Court deems equitable and just.



                       COUNT VII – INJUNCTIVE RELIEF (NON-ERISA)

176. The foregoing factual allegations are re-alleged and incorporated by

          reference as if same were fully set forth herein.

177. Currently, Defendants are wrongfully denying payment in whole or in part

          for virtually all bona fide Covid Testing service claims submitted during this

          COVID-19 public health emergency by Aventus and the Laboratories on

          behalf of insureds, members and beneficiaries of health plans either insured

          or administered by Defendants.




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178. In failing to make said payments, Defendants have failed and are failing to

          comply with the FFCRA, the CARES Act, ERISA, the terms of the health

          plans, and other applicable federal and state laws.

179. Furthermore, as detailed throughout this Complaint, Defendants have

          engaged in unscrupulous and fraudulent conduct to circumvent their

          obligations to adjudicate and reimburse Plaintiffs for bona fide Covid

          Testing services.

180. Unless enjoined from doing so, Defendants will continue to operate their

          fraudulent schemes and meritless claims and appeals processes and fail to

          comply with all applicable authorities to the substantial detriment of

          Plaintiffs, insureds, members and beneficiaries of health plans insured or

          administered by Defendants.

181. A monetary judgment in this case will only compensate Plaintiffs for past

          losses and will not stop Defendants from continuing to engage in

          unscrupulous and fraudulent conduct and to convert assets which are

          necessary for Plaintiffs to maintain their laboratories.

182. Plaintiffs have no practical or adequate remedy, either administratively or at

          law, to avoid these future losses.

183. Plaintiffs are entitled to a permanent injunction requiring Defendants to

          comply with the requirements of the FFCRA and the CARES Act for Covid



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          Testing claims submitted on behalf of insureds, members and beneficiaries

          of plans that are insured by Defendants or with regard to self-funded plans

          administered by Defendants.


                COUNT VIII – VIOLATION OF FLORIDA’S UNFAIR TRADE
                             PRACTICES ACT (“FDUTPA”)


184. Plaintiffs repeat and reallege all of their previous factual allegations as if same

          were fully set forth herein at length.

185. Defendants engaged in trade or commerce by marketing and issuing health

          insurance and administering group health plans and through its wholly-owned

          subsidiaries, UHCS, NHP and Optum, and they engage in similar trade and

          commerce by marketing and issuing health insurance and administering group

          health plans with sponsors located in the State of Florida.

186. Defendants breached the terms of their health plans by refusing to make out-of-

          network payments to Plaintiffs for charges covered by the plans, in violation of,

          inter alia, ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), and said conduct is

          unfair and deceptive under the Florida Deceptive and Unfair Trade Practices Act

          (“FDUTPA”), Fla. Stat. §§ 501.201, et seq.

187. In light of Defendants’ statutory and/or non-statutory obligations to pay for out-

          of-network COVID-19 tests, Defendants’ conduct has misled Plaintiffs and is




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          likely to continue to mislead other consumers of their services and their

          requirement to pay for COVID-19 tests.

188. Defendants’ conduct, as aforesaid, has caused Plaintiffs to suffer actual

          damages, and as a direct and proximate result of Defendants’ scheme, Plaintiffs

          have not received reimbursements that they are entitled to receive by law.

189. Defendants’ conduct also violates public policy in that it deters individual

          Plaintiffs from seeking COVID-19 tests, and the Laboratories from offering

          COVID-19 tests to individuals who are insured by Defendants.

190. Defendants have, therefore, violated the FDUTPA.

191. Defendants’ conduct was willful, wanton, malicious and/or in reckless disregard

          of Plaintiffs’ rights.

          WHEREFORE, Plaintiffs request judgment against Defendants jointly,

severally and/or in the alternative, as follows:

                       (i)     Compensatory damages;

                       (ii)    Punitive, treble, liquidated and/or consequential damages;

                       (iii)   Declaring that Defendants violated their statutory obligations to

process Covid Testing claims in accordance with the Section 6001 of the FFCRA and

Section 3202(a) of the CARES Act;




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                       (iv)   For an order compelling Defendants as insurers or administrators to

pay for all current and future COVID-19 testing costs required by law and incurred by

Plaintiffs;

                       (v)    Interest;

                       (vi)   All costs and disbursements of this action, including reasonable

attorneys’ fees and expenses; and

                       (vii) Such other and further relief as the Court deems just and proper.

                                             JURY DEMAND

          Plaintiffs demand a trial by jury on all issues so triable.

                                                        MANDELBAUM BARRETT P.C.


                                                        /s/
                                                        Steven W. Teppler, Esquire
                                                        FL Bar No. 14787
                                                        2385 NW Executive Center Drive,
                                                        Suite 100
                                                        Boca Raton, Florida 33431
                                                        Email: steppler@mblawfirm.com
                                                        Phone: 646.946.5659
                                                        Steven I Adler, Esquire*
                                                        3 Becker Farm Rd
                                                        Suite 105
                                                        Roseland, NJ 07086
                                                        Phone 973.736.4600
                                                        Email: sadler@mblawfirm.com
*Pro Hac Vice to be submitted
                                                        Counsel for Plaintiffs




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